        Case 22-40239-drd13       Doc 133 Filed 03/13/23 Entered 03/13/23 15:55:43               Desc
                                    Main Document     Page 1 of 2

                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI
In Re:      David A. Jackson                           )      Case No. 22-40239-drd13
            Shirley J. Jackson                         )
                                               Debtors )
               RESPONSE TO MORTGAGEE’S MOTION FOR RELIEF FROM STAY
                                                       .


          COME NOW Debtors, David & Shirley Jackson, by and through Counsel, and for this
Response to the Motion for Relief from Automatic Stay (Doc. #118; the “Motion”) filed by the
mortgagee, Deutsche Bank National Trust Company, as Trustee, in trust for registered Holders of Long
Beach Mortgage Loan Trust 2006-9, Asset-Backed Certificates, Series 2006-9 (the “Mortgagee”), state
that:
1.        Debtors’ on-going mortgage is being paid through the Plan since the onset of this Case.
2.        Debtors have applied for the Missouri Housing Assistance Fund (the “HAF”) in order to have
pre-Petition arrears due on their mortgage paid outside the Plan. Debtors believe they will receive
assistance once the Mortgagee responds to HAF’s default verification inquiries.
3.        If needed, Debtors are amenable to increasing and or suspending Plan payments so that the
mortgage arrears are cured within the life of the Plan.
4.        The Mortgagee’s Motion cites a default of $9,875.90 (the “Default”) through February 2023.
5.        The Mortgagee’s Motion cites that there is approximately $5,535.12 in a Suspense account but
fails to state if these Suspense account funds can be applied to the Default as this account is only noted
in the Total Pay Off section of the Motion.
6.        Debtors believe that the Trustee disbursing a portion, or all of, the $5,049.82 in on-hand funds
noted in the Trustee’s Objection (Doc. #121), plus moving the aforesaid Suspense account funds to the
mortgage principal would bring the mortgage within 3 months delinquency.
7.        In light of the above, Debtors request the Motion be denied.
          WHEREFORE, Debtors pray the Court to for an order(s) directing the Chapter 13 Trustee to
disburse as much in on-hand funds possible to the Mortgagee’s Proof of Claim, for the Mortgagee to
move Suspense Account funds and apply them to the mortgage’s principal balance, for the Motion by
the Mortgagee to be denied, and for such other relief as the Court deems equitable and proper.




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    Case 22-40239-drd13         Doc 133 Filed 03/13/23 Entered 03/13/23 15:55:43                 Desc
                                  Main Document     Page 2 of 2

       Dated: March 13, 2023                  Respectfully submitted,
                                              WM Law

                                              /s/ Jeffrey L. Wagoner
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                                      CERTIFICATE OF SERVICE
        I hereby certify that on March 13, 2023, the foregoing was delivered via e-mail to the parties
listed below that are registered to receive electronic filings on ECF, and regular first class, postage
prepaid to the parties listed below that are not registered to receive electronic filings on ECF.

                                                   /s/ Jeffrey L. Wagoner




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